



Colorado Supreme Court Opinions || June 1, 2015


Colorado Supreme Court -- June 1, 2015
2015 CO 43. No. 14SC495. People v. Vigil, Jr.


	The Supreme Court of the State of Colorado 
	2 East 14th Avenue â¢ Denver, Colorado 80203
	


	
		2015 CO 43
	
	
		Supreme Court Case No. 14SC495 
		C.A.R. 50 to the Colorado Court of Appeals 
		Court of Appeals Case No. 13CA2046
		Jefferson County District Court Case No. 97CR1195
		Honorable Tamara Russell, Judge
	
	
		Petitioner: 
		The People of the State of Colorado,
		v.
		Respondent: 
		Frank Vigil, Jr.
	
	
		Judgment Reversed 
		en banc
	
		June 1, 2015
	
	
		Attorneys for Petitioner:
		Peter A. Weir, District Attorney, First Judicial District
		Donna Skinner Reed, Chief Appellate Deputy District Attorney
	
		Golden, Colorado
	
		Attorneys for Respondent: 
		Nelson Colling Law LLC
		Stacie Nelson Colling
	
		Denver, Colorado
	
		Attorneys for Amici Curiae Juvenile Law Center: 
		Juvenile Law Center
		Marsha Levick
	
		Philadelphia, Pennsylvania
	
		Colorado Juvenile Defender Coalition
		Kim Dvorchak
	
		Denver, Colorado


	
		Attorneys for Amici Curiae District Attorneys for the Second and Eighteenth Judicial Districts:
		Mitchell R. Morrissey, District Attorney, Second Judicial District
		Robert J. Whitley, Chief Appellate Deputy District Attorney, Second Judicial District
	
		Denver, Colorado
	
		George H. Brauchler, District Attorney, Eighteenth Judicial District
		L. Andrew Cooper, Chief Deputy District Attorney, Eighteenth Judicial District
	
		Centennial, Colorado
	
		Attorneys for Amicus Curiae Colorado Juvenile Defender Center: 
		Colorado Juvenile Defender Center
		Kimberly E. Dvorchak
	
		Denver, Colorado


	JUSTICE EID delivered the Opinion of the Court.

	
		JUSTICE HOOD dissents, and JUSTICE HOBBS joins in the dissent. JUSTICE BOATRIGHT does not participate.


	Â&nbsp;

	
		Â¶1&amp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; In this C.A.R. 50 petition, the People argue that the trial court erred in ruling that Miller v. Alabama,132 S. Ct. 2455 (2012), applies retroactively to cases on collateral review of a final judgment. Arguing that his sentence was unconstitutional under Miller, defendant Frank Vigil Jr. filed a Crim. P. 35(c) motion for post-conviction relief of his final judgment. The trial court applied Miller retroactively and granted his motion.
	
		Â¶2&amp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; This case is governed by todayâs decision in Jensen v. People, 2015 CO 42, __ P.3d __, which holds that Miller does not apply retroactively to cases on collateral review of a final judgment. Accordingly, Miller does not apply to Vigil. The decision of the trial court to grant Vigilâs Crim. P. 35(c) motion is therefore reversed.
	
		I.
	
		Â¶3&amp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; In 1997, the trial court convicted Vigil of first degree murder for his participation in the kidnapping, rape, torture, and murder of a 14-year-old girl. Vigil was sixteen at the time of the crime. The trial court sentenced him to life without the possibility of parole (âLWOPâ), because it was the statutorily-mandated sentence for crimes committed between 1990 and 2006. See People v. Tate, 2015 CO 42, Â¶Â¶ 32â34, __ P.3d__ (discussing the statutory scheme). On direct appeal, the court of appeals affirmed the conviction. People v. Vigil, No. 98CA0689 (Colo. App. July 29, 1999). This court denied Vigilâs certiorari petition, and the judgment became final.
	
		Â¶4&amp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; In 2013, Vigil filed a Crim. P. 35(c) motion for post-conviction relief, arguing that his sentence was unconstitutional under Miller. Finding that Miller applied retroactively to Vigilâs sentence, the trial court granted the motion. The People thenÂ&nbsp;filed a petition with this court for review pursuant to C.A.R. 50, arguing that Miller does not apply retroactively. This court granted review.1
	
		II.


	Â¶5&amp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Today we hold in Jensen that Miller does not apply retroactively to cases on collateral review of a final judgment. Because Vigilâs judgment is final, and he is challenging that judgment on collateral review through a Crim. P. 35(c) motion, Miller does not apply.

	Â¶6&amp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; We therefore reverse the trial courtâs decision to apply Miller retroactively to Vigilâs collateral Crim. P. 35(c) motion.2 

	III.

	Â¶7Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; For the reasons stated above, we reverse the trial courtâs granting of the Crim. P. 35(c) motion.

	JUSTICE HOOD dissents, and JUSTICE HOBBS joins in the dissent. JUSTICE BOATRIGHT does not participate.


	1 The questions upon which we granted certiorari are the following:

	1. Whether Miller v. Alabama, 132 S. Ct. 2455 (2012), is to be applied retroactively to cases on collateral review.

	2. If Miller v. Alabama is retroactive, whether the trial court properly ordered a new sentencing hearing.

	2 Because we find that Miller does not apply retroactively to cases on collateral review of a final judgment, we need not consider the second certiorari question regarding the propriety of a new sentencing hearing.

	Â&nbsp;

	Â&nbsp;

	JUSTICE HOOD, dissenting.

	Â¶8Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Today, in People v. Jensen, 2015 CO 42, __P.3d __, this court held that the rule announced by the Supreme Court in Miller v. Alabama, 132 S. Ct. 2455 (2012), is procedural and, as a result, does not apply retroactively to cases on collateral review. In this case, the court says no more than it did in Jensen. Thus, for the same reasons I articulated in Jensen, I respectfully dissent here too. (In this case, it should be noted, however, that the People are represented by the District Attorney for the First Judicial District, who does not concede retroactivity, as the Attorney General did in Jensen.) Because the Miller rule is substantive, I would apply it retroactively to Vigil and affirm the trial courtâs order granting his Crim. P. 35(c) motion.

	I am authorized to state that JUSTICE HOBBS joins in this dissent.




These opinions are not final. They may be modified, changed or withdrawn in accordance with Rules 40 and 49 of the Colorado Appellate Rules. Changes to or modifications of these opinions resulting from any action taken by the Court of Appeals or the Supreme Court are not incorporated here. 



Colorado Supreme Court Opinions || June 1, 2015


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